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                            IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 REGINALD C. NOBLE,
                                                Case No. 2:22-cv-00295-JDW
                Plaintiff

       v.

 COURT OF COMMON PLEAS,
 PHILADELPHIA COUNTY, et al.,

                Defendants


                                          ORDER

      AND NOW, this 22d day of June, 2022, upon review of Plaintiff Reginald Noble’s

recent filing, which the Court construes as an Amended Notice of Removal (ECF No. 19),

the Court notes as follows.

      1.       Though it is not entirely clear what claims Mr. Noble asserts in his recent

filing, the Court held in an Order dated March 1, 2022, that it has no subject matter

jurisdiction over any claim that Mr. Noble could assert. As the Court explained, Mr. Noble

cannot invoke diversity jurisdiction because complete diversity does not exist between

him and the Defendants. In addition, the Rooker-Feldman doctrine bars any claims arising

from state court foreclosure and ejectment proceedings. The Court’s Order also explains

that Mr. Noble’s Notice Of Removal was procedurally defective, as it was untimely.

      2.       Despite the Court’s prior Order, Mr. Noble has re-filed what appears to be

another Notice Of Removal, without addressing any of the Court’s reasoning.
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      3.       When remanding a matter after removal, a Court “may require payment of

just costs and any actual expenses . . . incurred as a result of the removal.” 28 U.S.C. §

1447(c). At the same time, the Court retains the inherent right to sanction attorneys and

parties that appear before it. See In re Prudential Ins. Co. America Sales Practice Litig.

Agent Actions, 278 F.3d 175, 189 (3d Cir. 2002) (citations omitted). And the Court can

sanction any party that signs a submission without a good faith basis. See Fed. R. Civ. P.

11.

      In light of the foregoing it is ORDERED that Mr. Noble shall show cause in a

memorandum not to exceed ten (10) pages filed on or before July 1, 2022, explaining (a)

why the Court has subject matter jurisdiction over this case and why the Court should not

again remand this matter to the Philadelphia Court of Common Pleas; and (b) why

sanctions should not be imposed, pursuant to section 1447(c), Rule 11, or the Court’s

inherent authority, for Mr. Noble’s willful advancement of frivolous facts and legal

arguments.

                                                BY THE COURT:


                                                /s/ Joshua D. Wolson
                                                JOSHUA D. WOLSON, J.




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